        Case 4:12-cr-00170-SWW Document 156 Filed 05/28/14 Page 1 of 1




                     IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
                              WESTERN DIVISION

UNITED STATES OF AMERICA,                    *
                                             *
                      Plaintiff,             *
vs.                                          *        No. 4:12-cr-00170-SWW-1
                                             *
                                             *
CHRISTOPHER ARNOLD HOGAN,                    *
                                             *
                      Defendant.             *

                                          ORDER

       Defendant Christopher Arnold Hogan has submitted for filing under seal a pro se

notice regarding his trial. The Court, however, generally does not consider such pro se

matters from defendants represented by counsel. See United States v. Agofsky, 20 F.3d

866, 872 (8th Cir. 1994) (“There is no constitutional or statutory right to simultaneously

proceed pro se and with benefit of counsel.”). Accordingly, the Court directs that the

Clerk forward defendant’s notice to his counsel.


                     IT IS SO ORDERED this 28th day of May 2014.

                                          /s/Susan Webber Wright
                                          UNITED STATES DISTRICT JUDGE
